      Case 3:21-cv-00879-MCR-HTC Document 12 Filed 09/08/21 Page 1 of 7



                                                                                         Page 1 of 7

                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION


ONI C. FOX and
CLEOVA M. FOX,

       Plaintiffs,

v.                                                   CASE NO. 3:21cv879-MCR-HTC

THE FIRST LIBERTY
INSURANCE COMPANY,

     Defendant.
_______________________________/


                         FINAL SCHEDULING ORDER AND
                             MEDIATION REFERRAL

       The parties have submitted their joint scheduling report. Upon consideration,

it is ORDERED:

       1.      The joint scheduling report, ECF No. 11, will control the matters set

forth therein. With respect to matters not addressed in the parties’ joint report or

otherwise modified herein, the Initial Scheduling Order remains in effect. Pursuant

to the parties’ proposal, the discovery deadline is extended to April 29, 2022.1



       1
          This discovery deadline represents a three month extension to the January 21, 2022,
deadline imposed in the Court’s Initial Scheduling Order. In granting this extension, the Court
anticipates the parties will diligently conduct discovery such that no request for further extension
shall be necessary.
      Case 3:21-cv-00879-MCR-HTC Document 12 Filed 09/08/21 Page 2 of 7



                                                                                     Page 2 of 7

        2.       The deadline for filing potentially dispositive motions as well as Daubert

motions2 is 21 days after the close of discovery. The filing of potentially dispositive

motions need not, however, await the deadline for such motions. Potentially

dispositive motions should be filed at the earliest appropriate time. It is rarely

necessary that such motions await the completion of all discovery. Additionally, the

parties are directed to submit courtesy hard (i.e., paper) copies of their motion and/or

response and all supporting exhibits, along with any other evidentiary materials, to

the undersigned’s chambers.

        3.       In circumstances when the Federal Rules of Civil Procedure would

require leave of court for adding parties or amending pleadings, parties may be added

or pleadings amended only with leave of court. Pursuant to the parties’ proposal, the

deadline to move to join additional parties and to amend pleadings is October 10,

2021.

        4.       Pursuant to the parties’ proposal, disclosures of retained expert witnesses

and their written reports under Rule 26(a)(2) are due from Plaintiffs on or before

December 31, 2021, and from Defendant on or before January 31, 2022. Rebuttal

reports, if any, are due March 2, 2022. Expert witnesses not timely disclosed as

required by Rule 26(a)(2), or whose opinions have been significantly modified or


        2
            See Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).

Case No. 3:21cv879-MCR-HTC
      Case 3:21-cv-00879-MCR-HTC Document 12 Filed 09/08/21 Page 3 of 7



                                                                             Page 3 of 7

changed after discovery has ended, will normally not be permitted to testify at trial.

Also, a party’s failure to timely disclose an expert witness’s report will normally be

grounds to bar the witness from testifying at trial.

       5.     Disclosures under Federal Rule of Civil Procedure 26 shall be

supplemented within a reasonable time after learning information calling for

supplementation and in time to ensure the opposing party is not prejudiced by any

failure to supplement immediately after the information was or with diligence should

have been discovered. Supplementation under Rule 26(a) shall be made within 15

days after the party receives additional information necessitating a supplementation,

but in no event no later than 30 days prior to the close of discovery.

       6.     The deadlines established by this Order for disclosures under Federal

Rule of Civil Procedure 26(a)(2) abrogate the deadlines set forth in Rule 26(a)(2)(D)

and thus apply regardless of whether proposed testimony is intended solely to

contradict or rebut evidence on the same subject matter identified by another party

under Rule 26(a)(2)(B). Leave of court must be sought, for good cause, prior to

addition of testimony for which timely disclosures were not made, even if the

testimony is intended solely to contradict or rebut evidence on the same subject

matter identified by another party under Rule 26(a)(2)(B).




Case No. 3:21cv879-MCR-HTC
      Case 3:21-cv-00879-MCR-HTC Document 12 Filed 09/08/21 Page 4 of 7



                                                                               Page 4 of 7

       7.     By separate Order Setting Trial and Pretrial Schedule to be issued later,

a trial date will be scheduled and a deadline will be set for an attorney conference

leading to the filing of a pretrial stipulation and related papers. The deadline for the

attorney conference (as established by the Order Setting Trial and Pretrial Schedule)

also will be the deadline for disclosures under Federal Rule of Civil Procedure

26(a)(3). The deadline for objections under Federal Rule of Civil Procedure 26(a)(3)

is five days thereafter.

       8.     The parties shall mediate this case in accordance with the following

procedures:

       (a)    The parties are directed to select a mediator certified by the Supreme

Court of Florida as a Circuit Court Mediator or a person otherwise mutually agreeable

to the parties. If the parties are unable to agree upon a mediator by a date three weeks

prior to the discovery deadline, the Plaintiff shall immediately file a notice so

indicating, and I will appoint a mediator.

       (b)    Unless otherwise agreed, the fee of the mediator shall be paid equally by

the parties. The fee shall be paid in the manner required by the mediator.

       (c)    The first mediation conference shall commence by not later than 14 days

after the discovery deadline (but may commence at any earlier time). The mediator

shall set the initial mediation conference with due regard to schedules and other


Case No. 3:21cv879-MCR-HTC
      Case 3:21-cv-00879-MCR-HTC Document 12 Filed 09/08/21 Page 5 of 7



                                                                               Page 5 of 7

commitments of the parties and counsel and may continue or adjourn the mediation

conferences in his or her discretion within the time constraints set out in this Order.

       (d)    The following persons MUST attend the mediation conference:

              (1)    Counsel of record primarily responsible for the conduct of this

matter on behalf of each party.

              (2)    All parties. In the case of a corporation, governmental entity, or

other organization, or officer in his or her official capacity, the party must attend

through a representative having full authority to settle the entire case for the party

without further consultation. In his or her discretion, however, the mediator may

waive the requirement that the attending representative’s full authority to settle be

“without further consultation.” Unless the mediator directs otherwise, the parties by

agreement also may waive the requirement that the attending representative’s full

authority to settle be “without further consultation.”

              (3) If a party is insured, a representative of the insurer having full

authority to settle without further consultation. In his or her discretion, however, the

mediator may waive the requirement that the insurer’s representative’s full authority

to settle be “without further consultation.” Unless the mediator directs otherwise, the

parties by agreement also may waive the requirement that the attending insurer’s

representative’s full authority to settle be “without further consultation.”


Case No. 3:21cv879-MCR-HTC
      Case 3:21-cv-00879-MCR-HTC Document 12 Filed 09/08/21 Page 6 of 7



                                                                            Page 6 of 7

       (e)    Failure of any person to attend the mediation conference as required

shall result in the imposition of sanctions.

       (f)    The parties shall confer in advance on the submission of written

materials to the mediator and shall proceed in accordance with any agreement they

reach or the instructions of the mediator. In the absence of agreement of the parties

or instructions from the mediator, no written submissions to the mediator are

required, but either party may submit materials as it deems appropriate, which the

mediator may consider as he or she deems appropriate.

       (g)    The mediator shall have authority to control the procedures to be

followed in mediation, may adjourn the mediation conference and set times for

reconvening, and may suspend or terminate mediation whenever, in the opinion of the

mediator, the matter is not appropriate for further mediation.

       (h)    All discussions, representations, and statements made at the mediation

conference shall be off the record and privileged as settlement negotiations.

Mediation proceedings shall not be recorded by a court reporter or by an electronic

recording device, except as necessary to memorialize any settlement that may be

reached.

       (i)    This referral to mediation does not automatically toll the time for

completion of any other matter in this case.


Case No. 3:21cv879-MCR-HTC
      Case 3:21-cv-00879-MCR-HTC Document 12 Filed 09/08/21 Page 7 of 7



                                                                               Page 7 of 7

       (j)    The parties are encouraged to settle as many issues during mediation as

possible. Partial or complete settlements shall immediately be reduced to writing in

the presence of the mediator and shall be signed by all parties and their counsel.

       (k)    Mediation in this case must be completed on or before a date 28 days

after the discovery deadline. The mediator or parties shall file a report within 14 days

thereafter indicating when mediation was conducted and the outcome of the

mediation (that is, whether the matter was settled or impasse was declared). If the

matter is settled in full, notice to the Court shall be immediate.

       (l)    Counsel for each party shall, within 10 days of the date of this Order,

consult with his or her client about the advantages (including savings of costs and

attorney’s fees) and disadvantages of proceeding with mediation immediately rather

than awaiting the deadlines set in this Order. On motion of any party, the Court will

consider ordering that mediation commence immediately or at a time earlier than

otherwise required by this Order. With or without such an order, the parties by

agreement may commence mediation at any time before the deadlines set in this

Order.

       SO ORDERED this 8th day of September 2021.


                                         s/ M. Casey Rodgers
                                        M. CASEY RODGERS
                                        UNITED STATES DISTRICT JUDGE

Case No. 3:21cv879-MCR-HTC
